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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
In Re: KATRINA CANAL BREACHES

CONSOLIDATED LITIGATION
CIVIL ACTION NO.: 05-4182 (2)

PERTAINS TO:

MAGISTRATE WILKINSON, JR.

INSURANCE (Chehardy, No. 06-1672
C/W No. 06-1673

C/W No. 06-1674)

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* JUDGE DUVAL, JR.
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ORDER

Considering the foregoing Motion to Dismiss With Prejudice;

IT IS ORDERED that the Motion to Dismiss be and hereby is GRANTED, and
that the claims of Larry and Glendy Forster asserted herein against Great Northern Insurance
Company and the erroneously sued Chubb Custom Insurance Company be and hereby are
dismissed with prejudice, each party to bear their own costs. All other claims by all other
plaintiffs asserted against all other defendants are hereby reserved.

New Orleans, Louisiana, this day of , 2008.

UNITED STATES DISTRICT JUDGE

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